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                         .                                           .
                                                                               eth S.DSC      Court
                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                        BY   __-            DJ)
DAVID EYKYN and MIKE EYKYN,                    §
Individually and on Behalf of Himself and      §
All Others Similarly Situated,                 §
                                               §
       Plaintiff,                              §
                                               §     CASE NO. 1:14-cv-00922-SS
                                               §     (Consolidated Lead Case)
MULTIMEDIA GAMES HOLDING
COMPANY, INC., et al.,
                                               §

       Defendants.

CHRISTOPHER COFFMAN, Individually
and on Behalf of Himself and All Others
Similarly Situated,

       Plaintiff

v.                                                   CASE NO. l:14-cv-00966-SS

MULTIMEDIA GAMES HOLDING
COMPANY, INC., et al.,

       Defendants.


     EI]             JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE

       This matter came before the Court for hearing pursuant to the Preliminary Approval

Order of this Court, dated April 22, 2015 (the "Order")(ECF No. 35), on the application of the

Settling Parties (as defined in ¶ 1.19 of the Stipulation of Non-Opt Out Class and Derivative

Settlement) for approval of the settlement (the "Settlement") set forth in the Stipulation of Non-

Opt Out Class and Derivative Settlement dated April 7, 2015 ("Stipulation"). Due and adequate

notice having been given to the Class (as defined in ¶ 1.2 of the Stipulation) as required in the




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Order, and the Court having considered all papers filed and proceedings had herein and

otherwise being fully informed in the premises and good cause appearing therefor,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

        1.      This Judgment and Order of Dismissal with Prejudice ("Judgment") incorporates

by reference the definitions in the Stipulation, and all capitalized terms used herein shall have the

same meaning as set forth in the Stipulation.

       2.       This Court has jurisdiction over the subject matter of the above-captioned

consolidated actions (the "Federal Actions"), including all matters necessary to effectuate the

Settlement, and over all parties to the Federal Actions, including Plaintiffs, the Class, and

Defendants.

        3.       The Court finds that, for purposes of settlement only, the Federal Actions are

proper non-opt out class actions pursuant to Rule 23 of the Federal Rules of Civil Procedure.

Specifically, this Court finds that: (a) the members of the Class contemplated in the Federal

Actions are so numerous that joinder of all members is impracticable; (b) there are questions of

law or fact common to the Class that predominate over any individual questions, including

whether the disclosures made by Multimedia Games Holding Company, Inc. ("MGAM") in

connection with the Merger were adequate and whether the Director Defendants breached duties

owed to MGAM or the Class; (c) the claims of the Plaintiffs David Eykyn and Mike Eykyn

("Plaintiffs") are typical of the claims of the Class; (d) Plaintiffs and Plaintiffs' counsel have

fairly and adequately represented and protected the interests of MGAM and the Class; (e) the

prosecution of separate actions by Class members would create a risk of either (i) inconsistent or

varying adjudications with respect to individual members of the Class which would establish

incompatible standards of conduct for Defendants, or (ii) adjudications with respect to individual




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members of the Class which would as a practical matter be dispositive of the interests of the

other members of the Class who are not parties to the adjudications or substantially impair or

impeded their ability to protect their interest; and (f) there were allegations that Defendants acted

or refused to act on grounds generally applicable to the Class, thereby making final injunctive or

declaratory relief appropriate with respect to the Class as a whole. Thus, for the purposes of

settlement only, the Federal Actions are proper non-opt out class actions pursuant to Rule 23 of

the Federal Rules of Civil Procedure.

       4.        The Federal Actions are certified as class actions pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of the Class consisting of all Persons who were

record holders or beneficial owners of MGAM common stock as of September 7, 2014 and who

held such shares through and including December 19, 2014, the latter being the date of the

consummation of the Merger, including successors in interest, predecessors, representatives,

trustees, executors, administrators, heirs, assigns or transferees, of all such foregoing record

holders and/or beneficial owners, immediate and remote, and any Person acting for or on behalf

of, or claiming under, any of them. Excluded from the Class are Defendants, members of the

immediate family of any of Defendants, any entity in which any of Defendants has or had a

controlling interest, and the legal representatives, heirs, successors or assigns of any such

excluded person.

        5.       For purposes of the Settlement only, Plaintiffs David Eykyn and Mike Eykyn are

hereby certified as the representatives of the Class and James M. Wilson, Jr. of the law firm

Faruqi & Faruqi, LLP and Evan J. Smith of the law firm of Brodsky & Smith, LLC are hereby

appointed Class Counsel.




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         6.       The Court finds that the Summary Notice of Proposed Settlement of Derivative

and Non-Opt Out Class Action (the "Summary Notice") published in          Investor's Business Daily


and the mailing of the Notice of Proposed Settlement of Derivative and Non-Opt Out Class

Action (the "Notice") to all Persons who held of record MGAM common stock at any time

during the Class Period as set forth in the books and records maintained by or on behalf of

MGAM, at their respective offices set forth in such books and records provided the best notice

practicable under the circumstances of these proceedings and of the matters set forth therein,

including the Settlement set forth in the Stipulation, to all persons entitled to such notice, and

said notices fully satisfied the requirements of the Federal Rules of Civil Procedure, including

Rule 23.1(c) and Rule 23(c)(2), and the requirements of due process.

         7.       All members of the Class are bound by this Judgment, as full and adequate notice

of the proceedings was given and a full opportunity to be heard was provided to members of the

Class.

         8.       The Court finds that during the course of the Federal Actions, the Settling Parties

and their respective counsel, at all times, and complied with Rule       11   of the Federal Rules of

Civil Procedure.

         9.       The Court finds that the Settlement is fair, reasonable, and adequate as to each of

the Settling Parties, and hereby finally approves the Stipulation and the Settlement in all respects,

finds that the Settlement provides substantial benefits to MGAM and its stockholders, and orders

the Settling Parties to perform its terms to the extent the Settling Parties have not already done



         10.      The Federal Actions and all claims contained therein, as well as all of the

Released Claims, are dismissed with prejudice.          As between Plaintiffs, the Class, and the




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Defendants, the Settling Parties are to bear their own costs, except as otherwise provided in the

Stipulation.

        11.    Upon the Effective Date (as defined in ¶ 1.8 of the Stipulation), (a) Plaintiffs, in

their capacity as individuals, on behalf of all other similarly situated stockholders of MGAM,

and derivatively on behalf of MGAM, (b) MGAM, and (c) all members of the Class shall have

fully released and forever discharged, and shall forever be barred from initiating, continuing,

filing or otherwise prosecuting, against the Released Parties any Released Claims, including

Unknown Claims, that were, or could have been, asserted in the Federal Actions.

        12.    Plaintiffs' Counsel are awarded attorneys' fees in the amount of $310,000.00, in
                                                                                                      $)
accordance with the Stipulation.4*'. 0" 44k.-'*n          O        ttL C      háXCCO MQI.'r
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        13.    The Settling Parties have expressly waived any and all provisions, rights, and

benefits conferred by any law of any state or territory of the United States, or principle of

common law, which is similar, comparable, or equivalent to California Civil Code Section 1542,

which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
       KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
       OR HER SETTLEMENT WITH THE DEBTOR.
The Settling Parties acknowledge, and members of the Class are hereby deemed to have

acknowledged, that the waiver of Unknown Claims was separately bargained for and is a key

element of the Settlement.

        14.    Nothing herein shall in any way impair or restrict the rights of any of the Settling

Parties to enforce the terms of the Stipulation.

        15.    Neither the Stipulation nor the Settlement, nor any act performed or document

executed pursuant to or in furtherance of the Stipulation or the Settlement: (i) is or may be


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deemed to be or may be used as an admission of, or evidence of, the validity of any Released

Claim, or of any wrongdoing or liability of the Defendants; or (ii) is or may be deemed to be or

may be used as an admission of, or evidence of, any fault or omission of any of the Defendants

in any proceeding of any nature. Defendants may file the Stipulation and/or this Judgment in

any action that has been or may be brought against him, her, or it in order to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, full faith and credit, release,

good faith settlement, judgment bar or reduction or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim.

         16.    Without affecting the finality of this Judgment in any way, this Court hereby

retains continuing jurisdiction over: (i) implementation of the Settlement; and (ii) the Settling

Parties for the purpose of construing, enforcing, and administering the Stipulation and

Settlement, including, if necessary, setting aside and vacating this Judgment, on motion of a

party, to the extent consistent with and in accordance with the Stipulation if any condition set

forth in ¶ 6.1 of the Stipulation fails to occur.

         17.    This Judgment is a final, appealable judgment and should be entered forthwith by

the Clerk of the Court in accordance with Rule 58 of the Federal Rules of Civil Procedure.

         IT IS SO ORDERED.



Dated:                      7,   '°"

                                                                     SAM SARKS
                                                               United States District Judge




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